  Case 4:21-cv-00054-Y Document 26 Filed 04/25/22      Page 1 of 1 PageID 106


              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION
MARGARITA WILEY                 §
                                §
vs.                             § Civil Action No. 4:21-CV-54
                                §
WALMART, INC.                   §


                                   FINAL JUDGMENT

      In    accordance   with     the    joint   stipulation     of     dismissal

(doc. 25)    and   Federal      Rule    of   Civil   Procedure    58,    all    of

Plaintiff's claims against Defendant in the instant action are

hereby DISMISSED WITH PREJUDICE.             All costs of Court are to be

borne in accordance with the parties’ agreement.

      SIGNED April 25, 2022.

                                             ____________________________
                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE




FINAL JUDGMENT - PAGE SOLO
